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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             Western District of Washington

                                                              700 Stewart Street, Suite 5220   Tel: (206) 553-7970
                                                              Seattle WA, 98101-1271           Fax: (206) 553-4440
                                                              www.usdoj.gov/usao/waw




                                                                      September 11, 2020
VIA ECF
Scott Engelhard
Attorney at Law

               Re:       United States v. Lionel Gonzalez-Torres
                         No. CR20-146 JCC, USDC, W.D. Washington

Dear Counselor:

       Please be advised that the arraignment for the defendant named in the above cause has
been scheduled as follows:

               Date:           Thursday, September 17, 2020
               Time:           9:00 a.m.
               Before:         Michelle L. Peterson, United States Magistrate Judge
               Place:          United States Courthouse, Room 12B
                               700 Stewart Street, 12th Floor, Seattle, WA 98101

       It will be necessary that you and your client be present at the time and place indicated
above, or via video or teleconference as directed by the Court. The indictment and other
documents related to this case are available on the Court’s Electronic Docketing System.

       If this is your client’s first appearance, please contact U.S. Probation and Pretrial
Services, 206-370-8950 (Seattle) or 253-882-3705 (Tacoma), to schedule a pretrial interview in
advance of the arraignment.

       The Court has requested us to call your attention to the Speedy Trial Act (18 U.S.C.
§3161 et. seq.), and the District’s Plan for Prompt Disposition of Criminal Cases, available on
the Court’s website: https://www.wawd.uscourts.gov.

                                             Very truly yours,
                                             BRIAN T. MORAN
                                             United States Attorney

                                             s/ C. Andrew Colasurdo
                                             C. ANDREW COLASURDO
                                             Assistant United States Attorney
